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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION




UNITED STATES OF AMERICA                        §
                                                §
                          Plaintiff,            §
                                                §
v.                                              §      No. 3:20-CR-621-K-1
                                                §         Judge Kinkeade
                                                §
SHERMAN ROBERTS,                                §
                          Defendant.            §



                            AGREED MOTION TO CONTINUE TRIAL

         COMES NOW, Sherman Roberts, defendant, by and through the undersigned counsel, and

respectfully requests that the trial in this cause be continued, and for good cause shows as follows :

                             The Grounds for the Requested Continuance

 1.      Defendant asks the Court to continue the current trial date of October 17, 2022, and

all associated pre-trial deadlines. The current Scheduling Order was issued on October 17, 2021

regarding the current trial schedule. (Dkt.#21)

2.       Counsel and the Government believe it is appropriate to grant this continuance. Defendant

         is currently on pre-trial release. Counsel has been trying to obtain the defendant's prior

         deceased lawyers files regarding this case. Further, Counsel is working with the

         Government to resolve this case without the necessity of a trial. Counsel respectfully

         requests at least a 90 day continuance from the current trial setting.




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                                                 Conclusion

3.       The Speedy Trial Act, 18 U.S.C. §§ 3161 provides that a continuance may be granted based

         on the Court's "findings that the ends of justice served by taking such action outweigh the

         best interest of the public and the defendant in a speedy trial." 18 U.S.C. §3161(h)(7)(A).

4.       In consideration of defendant's rights to both due process and the effective assistance of

counsel - as well as the precepts of the Speedy Trial Act - counsel respectfully requests a trial date

on or after February 6, 2023 and an Amended Pretrial Order.

                                                         RespEf1f}1llY. submitted,
                                                              WiL A.<JtiL
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                                   CERTIFICATE OF CONFERENCE

      I certify that I have conferred with counsel for the Government, AUSA Marcus Busch on
September 8, 2022 regarding defendant's motion and he afref'l to the continuance.

                                                              WJLA.~L
                                                         William D. Cox III

                                       CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2022, the following document was filed
 electronically, using the ECF system for the Northern District of Texas, Dallas Division, and that
 a copy of this document will be provided electronically to all parties.


                                                              lJdL A-'f'L
                                                         William D. Cox III


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